                    UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA STATE
CONFERENCE OF THE NAACP, et al.,

                    Plaintiffs,
           v.

ALAN HIRSCH, in his official capacity as
Chair of the North Carolina State Board of
Elections, et al.,
                                                 No. 1:18-cv-01034
                    Defendants,                  NOTICE OF APPEARANCE
                    and

PHILLIP E. BERGER, in his official
capacity as President Pro Tempore of the
Senate, et. al,

Legislative Defendants-Intervenors.


      PLEASE TAKE NOTICE that David E. Kouba enters this Notice of Appearance as

counsel representing Plaintiffs North Carolina State Conference of the NAACP, Chapel

Hill - Carrboro NAACP, Greensboro NAACP, High Point NAACP, Moore County

NAACP, Stokes County Branch of the NAACP, and Winston Salem - Forsyth County

NAACP in this matter.

Dated: April 30, 2024                      Respectfully submitted,




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                              By: /s/ David E. Kouba
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed the foregoing NOTICE OF

APPEARANCE with the Clerk of Court using the CM/ECF system which will send

notification of such to all counsel of record in this matter.

       This, the 30th day of April 2024.


                                                                /s/ David E. Kouba
                                                                David E. Kouba




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